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   1             MERCHSOURCE, LLC, (hereinafter “Plaintiff” or “MerchSource”), for its
   2   complaint against IMJ MARKETING INC (hereinafter “Defendant” or “IMJ
   3   Marketing”) alleges:
   4

   5                             JURISDICTION AND VENUE
   6             1.   Plaintiff MerchSource, LLC is a business organized and existing
   7   under the laws of the State of California, with its principal office at 19517
   8   Pauling, Foothill Ranch, Orange County, California, 92610.
   9             2.   Defendant IMJ Marketing Inc. is, on information and belief, a
  10   business organized and incorporated under the laws of the State of New York,
  11   with its principal office at 7 West 34th Street, Suite 625, New York, NY 10001.
  12   Defendant is also doing business in this judicial district and has substantial,
  13   systematic and continuous contacts with California, including this District.
  14             3.   This Court has jurisdiction over Plaintiff’s federal claims under the
  15   laws of the United States, Title 15 of the United States Code (Commerce and
  16   Trade), particularly under the Copyright Act of the United States, 17 U.S.C. § 501
  17   et seq.
  18             4.   Alternatively, this Court has jurisdiction over this action under 28
  19   U.S.C.A. § 1332, because there is diversity of citizenship between the parties, and
  20   the amount in controversy exceeds the sum of Seventy Five Thousand Dollars
  21   ($75,000.00), exclusive interest and costs.        This Court also has pendent
  22   jurisdiction pursuant to 28 U.S.C.A. § 1338(b).
  23             5.   Venue is proper in this District pursuant to 28 U.S.C.A. §§ 1391 (b)
  24   and (c) and §§ 1400 (a). On information and belief, Defendant IMJ Marketing
  25   sells its products at issue in this District, has caused damage in this District, and
  26   on information and belief, has entered into contracts such that the claims asserted
  27   in this Complaint arose in this District.
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   1                FACTS COMMON TO ALL CAUSES OF ACTION
   2         6.     Plaintiff MerchSource (“MerchSource”) is a provider of consumer
   3   products and pet products, including pet beds and other items. For several years,
   4   MerchSource has manufactured different lines of pet beds and distributes its
   5   unique products nationwide at major retailers in the United States.
   6         7.     As part of its regular business practice, MerchSource updates from
   7   time to time the fabrics used in its line of pet beds, with new patterns and colors
   8   introduced every couple years.
   9         8.     For example, for its 2007-2008 pet bed line, MerchSource made and
  10   sold pet beds in an original brown and red plaid material it created (“Plaid Bed
  11   Line”).    MerchSource registered its fabric design which is protected under
  12   Copyright Registration No. VA 1-670-765 for the “Red Brown Pattern Fabric
  13   Design," attached as Exh. A.
  14         9.     For 2009, MerchSource created another new set of original fabrics.
  15   The 2009 fabrics are four (4) unique striped patterns (“Striped Bed Line”). The
  16   four fabrics were used for the Striped Bed Line which included both small, round
  17   pet beds, and larger, rectangular pet beds. MerchSource owns the copyrights for
  18   the four original striped patterns in the Striped Bed Line, which it registered as
  19   follows:
  20         a.     Copyright Registration No. VA 1-674-867 for the “Pink Brown
  21                Pattern Fabric Design,” attached as Exh. B;
  22         b.     Copyright Registration No. VA 1-674-868 for the “Brown White
  23                Pattern Fabric Design,” attached as Exh. C;
  24         c.     Copyright Registration No. VA 1-674-871 for the “Green Blue
  25                Pattern Fabric Design,”; attached as Exh. D; and
  26         d.     Copyright Registration No. VA 1-674-880 for the “Red Cream
  27                Pattern Fabric Design,” attached as Exh. E.
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   1         10.    Defendant IMJ Marketing (“IMJ Marketing”), on information and
   2   belief, is also in the business of selling pet products including pet beds, and other
   3   household products which it sells to national retailers.
   4         11.    In 2009, MerchSource discovered that IMJ Marketing made
   5   identical copies of MerchSource’s Plaid Bed Line for sale by MerchSource in its
   6   2008 product line. The IMJ Marketing red/brown plaid pet beds are the same
   7   size and design, and made of the same fabric patterns and materials, as
   8   MerchSource’s Plaid Bed Line. The use of Plaintiff's copyrighted fabrics was an
   9   intentional infringement of Plaintiff MerchSource's copyrights.
  10         12.    IMJ Marketing marketed its infringing pet beds on its web site and
  11   sold them directly to Plaintiff's customers. On information and belief, IMJ
  12   Marketing was well aware that MerchSource had already sold its products to
  13   customers and that those customers would be placing repeat orders with Plaintiff.
  14   Defendant stole business from Plaintiff by wrongfully selling infringing products
  15   to the very retailers already doing business with MerchSource, and by offering
  16   these illicit products at a price below Plaintiff's. A true and correct photograph of
  17   MerchSource’s Pet Beds (F2) and of IMJ Marketing’s infringing brown/red
  18   fabric (F1) is attached hereto as Exhibit F.
  19         13.    In or around April 2009, MerchSource notified IMJ Marketing of its
  20   intellectual property rights in the Plaid Bed Line, warning that IMJ had infringed
  21   those products. MerchSource demanded that IMJ Marketing immediately cease
  22   its infringement.
  23         14.    Despite MerchSource’s notice to cease production and sale of these
  24   products, IMJ continued deliberately and willfully to market and offer for sale the
  25   offending pet beds and other products with MerchSource copyrighted fabrics.
  26         15.    Eventually, Defendant IMJ claimed that it had stopped selling the
  27   red and plaid pet beds that infringed MerchSource’s Plaid Bed Line.
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   1         16.    Despite that unconfirmed representation, and in addition to already
   2   losing substantial sales to IMJ Marketing, Plaintiff incurred additional losses
   3   when it was forced to reduce the prices on additional orders in order to compete
   4   with IMJ’s infringing products.
   5         17.    In late spring 2009, well after MerchSource notified IMJ of its
   6   infringement of the Plaid Bed Line, MerchSource discovered that IMJ Marketing
   7   had begun blatantly advertising and marketing on its website four additional pet
   8   beds, each of which was an identical copy of all four copyrighted patterns
   9   Plaintiff had introduced as part of its Striped Bed Line. MerchSource had once
  10   again invested time, money and effort to develop this latest line of pet beds (with
  11   fabrics in green/blue, pink/cream, red/cream and brown/white stripe patterns),
  12   only to find them knocked-off — like the Plaid Bed Line before it — by IMJ.
  13   These newer fabrics, like MerchSource's Plaid Bed Line, were copyrighted as the
  14   original creation of MerchSource. The Defendant IMJ Marketing's fabrics were
  15   again nearly identical in color, weight, materials and pattern to MerchSource's
  16   and infringed MerchSource's copyrights. Only intentional copying explains the
  17   identity between not just one of the fabrics, but all four. A true and correct
  18   photograph of MerchSource’s Pet Beds (G2) and IMJ’s infringing products (G1)
  19   for the 2009 line is attached hereto as Exhibit G.
  20         18.    Once again, MerchSource notified IMJ that the fabrics were
  21   copyrighted. Plaintiff MerchSource again warned Defendant IMJ and demanded
  22   that it cease the marketing and sale of the offending pet beds and any other
  23   products made of MerchSource copyrighted, protected fabrics. On information
  24   and belief, IMJ Marketing ignored the notices and continued to offer its
  25   infringing pet beds for sale.
  26         19.    Eventually, Defendant IMJ Marketing reluctantly and informally
  27   claimed to cease marketing and offering for sale the infringing copies of both
  28   MerchSource’s Plaid Bed Line and Striped Bed Line.

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   1         20.    IMJ’s     infringement      was       not   limited   to   copying   Plaintiff
   2   MerchSource's pet bed fabrics. Even after multiple notices to Defendant IMJ
   3   Marketing, and even after Defendant informally claimed that it had ceased its
   4   infringements, Plaintiff discovered in the summer of 2009 that Defendant had
   5   begun to market a third line of products infringing MerchSource’s copyrights.
   6   This time, Defendant IMJ marketed on its website a line of four “door draft
   7   blockers”, each of which was wrapped in the four patterns that MerchSource
   8   designed and copyrighted as part of its Striped Bed Line. A photograph of the
   9   offending IMJ Marketing door draft blockers (H1) and MerchSource’s
  10   copyrighted striped design fabrics (H2) are attached as Exhibit H. Such a flagrant
  11   violation of copyrights — not once, or twice, but thrice — after explicit warning
  12   can only be intentional, deliberate and wrongful.
  13         21.    In or about August, 2009, MerchSource once again warned IMJ that
  14   IMJ had infringed MerchSource’s copyrighted fabrics, now being used by IMJ in
  15   its door draft blocker product line.
  16         22.    For the third time in less than six months, Defendant IMJ Marketing
  17   grudgingly removed from its website photographs of the door draft blockers with
  18   the infringing patterns. On information and belief, IMJ Marketing has continued
  19   to sell and deliver all three infringing product lines in acts of deliberate, willful
  20   infringement of Plaintiff MerchSource's fabric copyrights.
  21         23.    As    a   direct   result   of        IMJ   Marketing's    infringements   of
  22   MerchSource’s copyrighted fabrics and distinctive, custom-designed products,
  23   MerchSource has lost sales, suffered from price erosion, and otherwise lost
  24   profits from its creations to which it was entitled.
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   1                             FIRST CAUSE OF ACTION
   2                           COPYRIGHT INFRINGEMENT
   3         24.    Plaintiff realleges and incorporates by reference paragraphs 1
   4   through 23 of this Complaint.
   5         25.    Defendant, intentionally, willfully and deliberately infringed
   6   Plaintiff MerchSource’s registered copyrights on the MerchSource Pet Bed’s
   7   fabrics, in spite of repeated notices to cease and desist.
   8         26.    As a direct and proximate result of Defendant’s acts of copyright
   9   infringement, Plaintiff has been damaged in an amount to be proved at trial, but
  10   in any event no less than $250,000, or in the alternative, statutory damages in an
  11   amount of not less than $250,000. The infringement herein alleged was willful
  12   and deliberate, and warrants enhancement of statutory damages.
  13         27.    As a further, direct and proximate result of defendant’s willful,
  14   deliberate and persistent copyright infringement, Plaintiff will suffer and continue
  15   to suffer injury in damage to Plaintiff’s good will and price erosion, and they
  16   have no adequate remedy at law. Plaintiffs will be irreparably harmed unless
  17   defendants are restrained and enjoined from committing and continuing to
  18   commit such acts of copyright infringement.
  19

  20                            SECOND CAUSE OF ACTION
  21    TORTIOUS INTERFERENCE WITH EXISTING AND PROSPECTIVE
  22                            BUSINESS RELATIONSHIPS
  23         28.    Plaintiff realleges and incorporates by reference the allegations
  24   contained in paragraphs 1 through 27 of this Complaint.
  25         29.    MerchSource had business relationships with many retail stores.
  26   MerchSource had orders for hundred of thousands of units of its pet bed lines and
  27   anticipated renewal orders.
  28


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   1         30.    On information and belief, Defendant IMJ knew that MerchSource
   2   sold its pet beds to national retailers. Defendant IMJ deliberately, intentionally
   3   and wrongfully interfered with Plaintiff's business relationships by wrongfully
   4   and improperly selling products to Plaintiff's customers, even though Defendant
   5   IMJ had no right to sell these products.
   6         31.    Further, MerchSource was forced to reduce the price on its own
   7   intellectual property to avoid losing further sales to Defendant due to Defendants
   8   deliberate and wrongful interference.
   9         32.    As direct and proximate result of Defendant’s intentional actions,
  10   Plaintiff has been damaged as previously alleged. Further, Defendant's malicious,
  11   willful and wrongful conduct entitles Plaintiff to exemplary and punitive
  12   damages in an amount to be determined at trial.
  13

  14                            THIRD CAUSE OF ACTION
  15         UNFAIR COMPETITION UNDER CAL. BUS. & PROF. CODE
  16                                   § 17200 ET SEQ.
  17         33.    Plaintiff re-states and incorporates and references the allegations
  18   contained in paragraphs 1 through 32of this Complaint.
  19         34.    Defendant’s actions alleged above constitute unlawful business acts
  20   and/or practices under Cal. Bus. & Prof. Code § 17200 et seq. as they constitute
  21   unlawful, unfair and fraudulent acts or practices that are likely to deceive the
  22   public as to the origin of the Pet Beds, among other things.
  23         35.    As a direct and proximate result of Defendant’s unfair competition,
  24   Plaintiff has been damaged as previously alleged.
  25

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   1                                FOURTH CAUSE OF ACTION
   2                      COMMON LAW UNFAIR COMPETITION
   3         36.       Plaintiff re-states and incorporates and references the allegations
   4   contained in paragraphs 1 through 35 of this Complaint.
   5         37.       Plaintiff MerchSource created and owns a distinctive line of Pet
   6   Beds and is a provider of consumer and pet products, including pet beds.
   7         38.       In direct competition with Plaintiff, Defendant IMJ Marketing, on
   8   information and belief, is also in the business of selling pet products including pet
   9   beds in the same market to the same customers.
  10         39.       Defendant’s actions alleged above of knowingly and wrongfully
  11   copying Plaintiff's products was intentionally designed to misappropriate
  12   Plaintiff's goodwill and damages competition in that such unlawful business acts
  13   deceive the public in violation of the common law.
  14         40.       As a direct and proximate result of Defendant’s unfair competition,
  15   Plaintiff has been damaged as previously alleged.
  16         41.       Additionally, because of the willful and deliberate nature of the
  17   Defendant’s wrongful acts, Plaintiff is entitled to an award of punitive damages.
  18         WHEREFORE, the Plaintiff prays:
  19         1.        For preliminary and             permanent injunctions enjoining and
  20   restraining Defendant, its officers, agents, servants, employees, attorneys,
  21   successors, or assigns and any persons in active concert or participation with
  22   them from:
  23              a.     Directly    or   indirectly       infringing   Plaintiff   MerchSource’s
  24                     copyrights No. VA 1-670-765; VA 1-674-867; VA 1-674-868;
  25                     VA 1-674-871; VA 1-674-880 in the fabric designs;
  26              b.     Developing, exploiting, distributing, colorably imitating or
  27                     otherwise using the copyrighted, protected fabric designs;
  28              c.     Importing into the United States any infringing products; and

                                                       9
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    1              d.     Any other conduct which has the result of preventing Plaintiffs’
    2                     development, distribution, and profit from the copyrighted,
    3                     protected fabrics;
    4         2.        For a mandatory injunction ordering Defendant, its officers, agents,
    5   servants, employees, attorneys, successors, or assigns and any persons in active
    6   concert or participation with them, to destroy any infringing inventory in the
    7   Defendant's possession and control;
    8         3.        For a declaratory judgment that defendant has infringed Plaintiff’s
    9   copyrighted fabrics and misappropriated, improperly profited from, and
   10   otherwise misused the copyright protected fabrics;
   11         4.        Actual damages, including lost profits, and other money damages,
   12   against defendants in an amount to be proven at trial, but in any event, not less
   13   than $250,000; or in the alternative, statutory damages.
   14         5.        Disgorgement of Defendant's profits;
   15         6.        Punitive and exemplary damages;
   16         7.        Pre-judgment and post-judgment interest at the legal rate;
   17         8.        Costs;
   18         9.        Attorneys fees as allowed pursuant to the Copyright Act and as
   19   otherwise allowed by law; and
   20         10.       Such other and further relief as is just and proper.
   21

   22   Dated: November 5, 2009             Respectfully submitted,
   23
                                            THE ECLIPSE GROUP LLP
   24

   25
                                            __________________________________
                                            By: Edward F. O’Connor, Esq.
   26                                            Becky V. Christensen, Esq.
   27                                            Mariana P. Noli, Esq.
                                                 ATTORNEYS FOR PLAINTIFF
   28                                            MERCHSOURCE LLC

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    1                           DEMAND FOR JURY TRIAL
    2        Plaintiff hereby demands trial by jury.
    3

    4   Dated: November 5, 2009        Respectfully submitted,
    5
                                       THE ECLIPSE GROUP LLP
    6

    7
                                       __________________________________
    8                                  By: Edward F. O’Connor, Esq.
    9                                       Becky V. Christensen, Esq.
                                            Mariana P. Noli, Esq.
   10                                       ATTORNEYS FOR PLAINTIFF
   11                                       MERCHSOURCE LLC

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                        EXHIBIT A
